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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                                 CASE NO. 16-59003-mgd

JAMES DANIEL WISNER,                                   CHAPTER: 7

               Debtor.                                 JUDGE: MARY GRACE DIEHL

NATIONSTAR MORTGAGE, LLC,                              CONTESTED MATTER

               Movant,
v.

JAMES DANIEL WISNER, Debtor
KYLE A. COOPER, Trustee,

               Respondent(s).


                                    NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Movant named above has filed a Motion for Relief
from the Automatic Stay and related papers with the Court seeking an Order Granting Relief
from the Automatic Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1201, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303, at
10:00 a.m. on August 18, 2016.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk’s Office is: Clerk,
U.S. Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA 30303. You must
also mail a copy of your response to the undersigned at the address stated below.
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        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot
be rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.


                                                     /s/ Bryce Noel
                                                     Bryce Noel, Bar No.: 620796
                                                     Attorney for Movant
                                                     Aldridge Pite, LLP
                                                     Fifteen Piedmont Center
                                                     3575 Piedmont Road, N.E., Suite 500
                                                     Atlanta, GA 30305
                                                     Phone: (404) 994-7400
                                                     Fax: (888) 873-6147
                                                     Email: BNoel@aldridgepite.com
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                                 CASE NO. 16-59003-mgd

JAMES DANIEL WISNER,                                   CHAPTER: 7

                Debtor.                                JUDGE: MARY GRACE DIEHL

NATIONSTAR MORTGAGE, LLC,                              CONTESTED MATTER

                Movant,
v.

JAMES DANIEL WISNER, Debtor
KYLE A. COOPER, Trustee,

                Respondent(s).


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          COMES NOW Movant named above and shows this Court the following:

      1.        This Motion is made pursuant to Section 362(d) of the Bankruptcy Code for relief

from the automatic stay for all purposes allowed by law and the contract between the parties,

including, but not limited to, the right to foreclose on certain real property by a private power of

sale contained in a certain Security Deed, a copy of which is attached hereto and made a part

hereof.

      2.        Movant is the holder or the servicer of a loan secured by certain real property in

which the Debtor has an interest. Said real property is security for a Promissory Note, and is

commonly known as 2361 Lovejoy Road, Lovejoy, Georgia 30250.

      3.        There has been a default in payment of the monthly installments required pursuant

to the Promissory Note. As of July 20, 2016, two (2) payments have been missed.
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       4.       The unpaid principal balance is $78,164.14, and interest is due thereon in

accordance with the Promissory Note. Movant’s total claim is approximately $79,424.98.

       5.       Because there may be little or no value in the property over the amount owed on

the property, Movant is not adequately protected and should be permitted to proceed with

foreclosure.

       6.       Because there may be little or no equity in the property which could benefit the

estate, the Trustee’s interest should be abandoned.

       7.       Movant shows that the provisions of Bankruptcy Rule 4001(a)(3) should be

waived.

        WHEREFORE, Movant prays for an Order lifting the automatic stay, authorizing it to

proceed with the exercise of its private power of sale and to foreclose under its Loan Documents

and appropriate state statutes.      Movant also prays that the provisions of Bankruptcy Rule

4001(a)(3) be waived, and for an award of reasonable attorney’s fees, and for such other and

further relief as is just and equitable.


                                                      /s/ Bryce Noel
                                                      Bryce Noel, Bar No.: 620796
                                                      Attorney for Movant
                                                      Aldridge Pite, LLP
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
                                                      Phone: (404) 994-7400
                                                      Fax: (888) 873-6147
                                                      Email: BNoel@aldridgepite.com
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                              Case No. 16-59003-MGD

 JAMES DANIEL WISNER,                                Chapter 7

               Debtor.


                               CERTIFICATE OF SERVICE

   I, the undersigned, hereby certify under penalty of perjury that I am, and at all times

hereinafter mentioned, was more than 18 years of age, and that on August 3, 2016, I served a

copy of Notice of Hearing and Motion for Relief from the Automatic Stay which was filed in

this bankruptcy matter on August 3, 2016, in the manner indicated:

The following parties have been served via e-mail:

Stephen J. Sasine                               Kyle A. Cooper
sjs@mcconnellsneed.com                          kcooper@greenecooper.com

The following parties have been served via U.S. First Class Mail:

 James Daniel Wisner
8231 Turnberry Court
Covington, GA 30014

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Dated: August 3, 2016                        /s/ Bryce Noel
                                             Bryce Noel, Bar No.: 620796
                                             Attorney for Movant
                                             Aldridge Pite, LLP
                                             Fifteen Piedmont Center
                                             3575 Piedmont Road, N.E., Suite 500
                                             Atlanta, GA 30305
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